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                        UNITED STATES DISTRICT C'Q'URT~
                      SOUTHERN DISTRICT OF CALtFoRNIA
                                                    '1k1
                                                    l.~~
                                                            rmv ~o PM 12.; 54
UNITED STATES OF AMERICA,                    CASE Nci~;'12CR4372-IEG0'

                       Plaintiff,                               ~
                                                     '! -'.- .,-_._.­

                vs.                          JUDGMENT OF DISMISSAL
CARLOS NAVARETTE (3),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X-   of the offense(s) as charged in the Indictment/Information:

      8:1324 (a) (1) (A) (ii) and (v) (II) - Transportation of Illegal Aliens

      and Aiding and Abetting

           IT IS THEREFORE ADJUDGED that the defendant is                     h~e~~~~~arged.




 DATED: OCTOBER 25, 2012
                                             Nita L. Stormes
                                             U.S. Magistrate Judge
